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Norma E. Ortiz                                               Settlement Date: Feb. 27, 2020
Ortiz & Ortiz, L.L.P.                                                  Time: 3:00 p.m.
32-72 Steinway Street, Ste. 402
Astoria, New York 11103
Tel. (718) 522-1117
Email@OrtizandOrtiz.com
Proposed Counsel to the Debtor and
Debtor in possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------- -x
In re

EL SAN JUAN CITY ISLAND ON 5TH AVE., LLC.                            Case No. 20-10103-jlg

                                                                     Chapter 11
                     Debtor.
-------------------------------x

       NOTICE OF SETTLEMENT OF APPLICATION AND PROPOSED ORDER
            FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY
          CODE SECTION 327(a) AUTHORIZING THE EMPLOYMENT OF
                ORTIZ & ORTIZ, L.L.P. AS DEBTOR’S COUNSEL

       PLEASE TAKE NOTICE that the above-captioned Debtor El San Juan City Island on
 th
5 Ave., LLC (the “Debtor”) shall present the annexed proposed order for signature on
December 27, 2013, at 12:00 p.m. The proposed order will be presented to the Honorable
James L. Garrity, United States Bankruptcy Court, One Bowling Green, New York, New York
10004.

        PLEASE TAKE FURTHER NOTICE that no hearing will be held absent the timely
filing of an objection. If an objection is timely filed, the Court will notify the moving and
objecting parties of the date and time of any hearing. If you wish to object to the entry of the
proposed order, you must state your objection in writing, state the reasons for your objection, file
the original objection electronically or in paper form with the Clerk of the Bankruptcy Court,
with a copy for Judge Garrity’s Chambers, no later than February 24, 2013, at 12:00 p.m. The
objection must be accompanied by Proof of Service.

Dated: February 6, 2020
Astoria, New York
                                                      S/Norma E. Ortiz
                                                      Norma E. Ortiz, Esq.
                                                      ORTIZ & ORTIZ, L.L.P.
                                                      32-72 Steinway Street, Ste. 402
                                                      Astoria, New York, 11103
                                                      Tel. (718) 522-1117
                                                      Fax (718) 596-1302
                                                      Proposed Counsel to the Debtor
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email@ortizandortiz.com
Proposed Counsel to the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re

EL SAN JUAN CITY ISLAND ON 5TH AVE., LLC.                            Case No. 20-10103-jlg


                                    Debtor.                          Chapter 11
-------------------------------------------------------------X

      APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO BANKRUPTCY
          CODE SECTION 327(a) AUTHORIZING THE EMPLOYMENT OF
                ORTIZ & ORTIZ, L.L.P. AS DEBTOR’S COUNSEL


TO THE HONORABLE JAMES L. GARRITY
UNITED STATES BANKRUPTCY JUDGE;

        El San Juan City Island on 5th Ave., LLC (the “Debtor”), by its proposed attorneys Ortiz

& Ortiz, L.L.P. (“O & O”), respectfully represents:

                                              BACKGROUND

        1.       The Debtor filed a voluntary chapter 11 petition on January 16, 2020 (the

“Petition Date”).

        2.       The Debtor operates a restaurant located at 1429 5th Avenue in New York

County. After the Debtor rented the space in late 2017, it was unable to begin operating for the

first eight months after it rented the space because the equipment sold to the Debtor as

operational did not work and Con Edison would not provide the Debtor with gas because of the

condition of the plumbing in the kitchen. The Debtor accrued months of back rent while it was
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unable to operate and generate income. Once the Debtor began operating, it satisfied some of its

pre-petition rental arrears, but a a warrant of eviction was entered prior to the bankruptcy filing.

        3.      The Debtor has retained a landlord tenant lawyer that has advised the Debtor that

that there are grounds to reinstate the lease under New York law. The Debtor intends to seek the

Court’s approval to retain the lawyer to commence an action against the Landlord. If the Debtor

is able to reinstate the lease, which expires in 2027, it believes it can reorganize its affairs.

        4.      Because this is the Debtor’s third bankruptcy filing, O & O did not request a

retainer fee from the Debtor prior to the bankruptcy filing; the Debtor only paid O & O

$1,717.00 for the filing fee. If the Debtor can reinstate it lease, O & O will apply to the Court

for approval of the legal fees it incurs.

                                            JURISDICTION

        5.      The United States Bankruptcy Court for the Southern District of New York

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This

matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

        6.      The statutory bases for the relief requested herein are Bankruptcy Code Sections

327 and 328, Federal Rules of Bankruptcy Procedure 2014 and 2016, and Local Bankruptcy

Rule 2014-1.

                                      RELIEF REQUESTED

        7.      Subject to the Court’s approval, the Debtor has retained O & O as its bankruptcy

counsel to prosecute its Chapter 11 case. Pursuant to 11 U.S.C. § 327(a), Fed. Rule Bankr. Proc.

2014(a) and 2016, and Local Rules 2014-1 and 2016-1, the Debtor requests authority to retain as




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attorneys for the Debtor nunc pro tunc to the Petition Date. O & O anticipates rendering the

following services to the Debtor:

               (a) perform all necessary services as Debtor’s counsel that are related to the

               Debtor’s reorganization and the bankruptcy estate;

               (b) assist the Debtor in protecting and preserving the estate assets during the

               pendency of the chapter 11 case, including the prosecution and defense of actions

               and claims arising from or related to the estate and/or the Debtor’s reorganization;

               (c) prepare all documents and pleadings necessary to ensure the proper

               administration of its case; and

               (d) perform all other bankruptcy-related necessary legal services.

       8.      The Debtor believes that O & O is qualified to represent its interest and the

interests of the estate. Norma E. Ortiz, the partner responsible for the case, has over thirty two

years of Chapter 11 bankruptcy law experience in the public and private sectors. O & O is

willing to act in this case and render the necessary professional services as attorneys for the

Debtor.

       9.      As set forth in the Declaration of Norma E. Ortiz annexed hereto as Exhibit A, O

& O asserts that it does not hold or represent an interest adverse to the Debtor’s estate in the

matters upon which O & O is to be employed, and O & O is “disinterested” as the term is

defined in the Bankruptcy Code Section 327.

       10.     O & O shall apply to the Court for the allowance of compensation and

reimbursement of expenses in accordance with applicable provisions of the Bankruptcy Code,

the Federal Rules of Bankruptcy Procedure, and the local rules and orders of the Court. With the




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Court’s approval, the Debtor proposes to pay O & O its customary hourly rates as set forth in

Norma E. Ortiz’s Declaration and submits that such rates are reasonable.

           11.    No previous application for the relief requested herein has been made to this or

any other court.

           WHEREFORE, the Debtor respectfully requests the entry of an order substantially in the

form of the prefixed order granting the relief requested herein and such other and further relief as

is just.

Dated: Astoria, New York
       February 6, 2020
                                                                 /s/Norma E. Ortiz
                                                               Norma E. Ortiz, Esq.
                                                               Ortiz & Ortiz, L.L.P.
                                                               32-72Steinway Street, Ste. 402
                                                               Astoria, New York 11103
                                                               Tel. (718) 522-1117
                                                               Proposed Counsel to the Debtor




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                       DECLARATION OF NORMA ORTIZ
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

EL SAN JUAN CITY ISLAND ON 5TH AVE., LLC.                             Case No. 20-10103-jlg


                                             Debtor                   Chapter 11
--------------------------------------------------------X

 DECLARATION AND DISCLOSURE STATEMENT OF NORMA E. ORTIZ, ESQ., IN
   SUPPORT OF APPLICATION FOR RETENTION OF ORTIZ & ORTIZ, L.L.P.

          Norma E. Ortiz, states as follows:

        1.       I am an attorney at law admitted to practice before this Court and a member of the

firm Ortiz & Ortiz, L.L.P (“O & O”). I am the partner primarily responsible for the Debtor’s

case. I have been involved in numerous reorganization and consumer bankruptcy cases over the

last 32 years and possess the requisite experience and qualifications to serve as Debtor’s counsel.

        2.       My firm has agreed to bill the Debtor at an hourly rate of $450 an hour for

partners and $375 an hour and below for associates and attorneys serving as of counsel to my

firm. We bill our paralegals time at $75 an hour and below. Our partners bill non-bankruptcy

clients between $350 and $450 an hour, depending on – among other things – the complexity of

the matter. Photocopying charges shall be billed at five cents a page; only long distance calls and

faxes shall be billed to the estate. Any costs incurred by third party vendors will be billed to the

estate at O & O’s cost. The Debtor has consented to our retention under these terms.

        3.       My firm has the following connections to the Debtor: The Debtor has four
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shareholders. Its largest shareholder and president is Manuel Vidal Jr. Mr. Vidal is one of three

shareholders in a New York corporation called 1018 Morris Park Ave. Realty Inc. The other two

shareholders of 1018 Morris Park are not shareholders of the Debtor. 1018 Morris Park has a

pending Chapter 11 case under Case No. 17-11524-shl. The 1018 Morris Park debtor’s only

asset is a mortgage payment it receives every month. The case was filed to ascertain the amount

of tax debt due and to negotiate a payment plan for the debt. Virtually all of the professional

services rendered to the Debtor at this time are rendered by the tax accountants and the Debtor’s

special tax counsel. My firm’s remaining services will consist of filing a plan of reorganization

when the tax debt is finally fixed. In addition, my firm’s retainer agreement specifically states

that my firm’s loyalty lies with the Debtor and the bankruptcy estate and not any of the

shareholders. Under these circumstances, I do not believe that my firm’s representation of 1018

Morris Park renders it not qualified to represent the Debtor in this case.

       4.      I utilized software to search our databases of present and former clients to

conduct a conflicts check before agreeing to be retained by the Debtor. The firm has no

economic or professional relationship with any of the Debtor’s creditors other than in the

ordinary course of its business, such as the firm may maintain a bank account with a bank that is

a creditor of the Debtor. For these reasons, I believe O & O neither represents nor has any

connection to any creditor or party in interest of the Debtor other than as disclosed above.

       5.      I was previously employed by the U.S. Trustee’s office, but have no present

connection to the office other than in the ordinary course of my practice.

       6.      O & O received a $1,717 from the Debtor prior to the bankruptcy filing for

payment of the filing fee. O & O shall seek court approval of all fees paid to the firm pursuant

to, among other things, 11 U.S.C. §§ 330, 331. Any post-petition payments of compensation will


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be made pursuant to, among other things, the applicable Bankruptcy Code provisions and the

Federal Rules of Bankruptcy Procedure. Moreover, my firm is fully aware that all fees received

as compensation for services to the Debtor are subject to the Court’s approval for, among other

things, reasonableness – regardless of the source of funds paid to my firm.

       7.      My firm has not agreed to share compensation with any other person or entity. O

& O shall not seek an increase in its hourly rates without prior notice to the Debtor, the Court,

and the Office of the U.S. Trustee.

       I declare under the penalty of perjury that the foregoing is accurate and correct.

Dated: Astoria, New York
February 6, 2020
                                                              S/Norma Ortiz
                                                              Norma E. Ortiz
                                                              Ortiz & Ortiz L.L.P.
                                                              32-72 Steinway Street, Ste. 402
                                                              Astoria, New York 11103




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                               PROPOSED ORDER
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OFNEW YORK
--------------------------------------------------------X
In re

EL SAN JUAN CITY ISLAND ON 5TH AVE., LLC.                             Case No. 20-10103-jlg

                                                                      Chapter 11
                                          Debtor
--------------------------------------------------------X

        ORDER PURSUANT TO SECTION 327 (a) OF THE BANKRUPTCY CODE
         AUTHORIZING THE EMPLOYMENT OF ORTIZ & ORTIZ, L.L.P. AS
                      ATTORNEYS FOR THE DEBTOR

        Upon the application (the "Application") of El San Juan City Island on 5th Ave. LLC (the

“Debtor”), as debtor and debtor in possession, dated February 6, 2020, for entry of an order

pursuant to 11 U.S.C. § 327(a) authorizing and approving the employment of Ortiz & Ortiz,

L.L.P. ("O & O") as its attorneys; upon the Declaration of Norma E. Ortiz, Esq., a member of the

firm of O & O; it appearing that the members of O & O are admitted to practice before this

Court; the Court being satisfied that O & O represents no interest adverse to the Debtor and the

estate as to the matters upon which it is to be engaged, is disinterested under 11 U.S.C. §

101(14), and that the employment of O & O is necessary and in the best interest of the Debtor

and the estate; due notice of the Application having been given to the United States Trustee and

all of the Debtor’s creditors, and it appearing that no other or further notice need be given;

sufficient cause appearing therefore, it is

        ORDERED, that pursuant to 11 U.S.C. § 327(a) of the Bankruptcy Code, the Debtor is

authorized to employ O & O as its attorneys under the terms and conditions set forth in the
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Application effective as January 16, 2020; and it is further

       ORDERED, that no compensation or reimbursement of expenses shall be paid to O & O

for professional services rendered to the Debtor, except upon proper application and by further

order of this Court, and any of O & O's fee applications will be subject to notice and hearing

pursuant to Sections 330 and 331 of the Bankruptcy Code and Rule 2016 of the Federal Rules of

Bankruptcy Procedure; and it is further

       ORDERED, that prior to any increases in O & O rates for any individual retained by O &

O and providing services in this case, O & O shall file a supplemental affidavit with the Court

and provide ten business days’ notice to the Debtor, the United States Trustee and any official

committee. The supplemental affidavit shall explain the basis for the requested rate increases in

accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state whether O & O’s client

has consented to the rate increase. The United States Trustee retains all rights to object to any

rate increase on all grounds including, but not limited to, the reasonableness standard provided

for in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to Section 330 of the Bankruptcy Code.

Dated:      , 2020
New York, New York

                                                               _______________________
                                                               James L. Garrity
                                                               U.S. Bankruptcy Judge
NO OBJECTION:



Office of the United States Trustee
